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WANEH FORM _':"__“- UNITED STATES DISTRICT COUR'[ 51 .l _; t;_15.-._:j 3 1
MCF ,SSUED 55 DISTRICT OF MASSACHUSETTS

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DATE g "'“`v m

CAROL McNEIL,
on behalf of herself and all others

similarly situated,
Plaimiff 0

 

 

CA 11754RGS

Civil Action No.

FIDELITY INFORMATION CORPORATION,
Defendant

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COMPLAINT AND REOUEST FOR JURY TRIAL

Plaintiff Carol McNeil brings this action as a result of conduct engaged in by
defendant in attempting t0 collect an alleged consumer debt, Which conduct violated the
F air Debt Collection Practices Act (“FDCPA”). Plaintiff asserts both individual and class
claims for reiief.

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l. Plaintiff Carol McNeil (“McNeil”, or “plaintiff’) is an individual who at all times
relevant to this complaint has resided in Weymouth_, Norfolk County, Massachusetts.
2. Defendant Fidelity Information Corporation (“Fidelity” or “defendant”) is on
information and belief a business corporation having a principal place of business in

Paciflc Palisades, California.

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Jurisdiction

3. Plaintiff’s claims arise under 15 U.S.C. §1692 et seq. and this Court therefore has
subject matter jurisdiction over said claims pursuant to 15 U.S.C. §1692k(d) and 28
U.S.C. §1337.
4. Venue is proper in this district pursuant to 28 U.S.C. §l39l(b).

Statement of Facts
5. Defendant is a “debt collector” within the scope of 15 U.S.C. §1692a(6) in that it uses
an instrumentality of interstate commerce or the mails in a business the principal purpose
of which is the collection of any consumer debts, and/or regularly collects or attempts to
collect, directly or indirectly, consumer debts owed or due or asserted to be owed or due
another.
6. In or about January, 2006, plaintiff ordered an eyesight improvement product called
the “See Clearly Method,” which was marketed by a company known as Vision
Improvement Technologies, lnc. (“VIT”). Plaintiff believed she had paid for the product
in full at the time of the order, but VIT subsequently claimed this was not the case. ln
addition, plaintiff believed that the product as shipped to her lacked the user manual On

the basis of the foregoing, plaintiff refused to make any additional payments to VIT.

7. Plaintiff received a letter from defendant dated April 3, 2006. The letter: (i) it
asserted that “See Clearly Method was unable to process your last payment” even though
plaintiff never made, or attempted to make, another payment; and (ii) the validation
notice set forth in the letter violated 15 U.S.C. §l692g(a) by specifying that any dispute

to the debt be made in writing.

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8. Plaintiff received a second letter from defendant dated April 5, 2006. This letter
asserted erroneously that “See Clearly Method was unable to process your last payment.”

and contained the improper dispute language described above.

9. Plaintiff received another letter from defendant dated April 17, 2006. This letter
stated falsely : “This will be our last attempt to contact you before sending your

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outstanding balance into collection . . . ‘

lO. Plaintiff received another letter from defendant dated May 2, 2006. This letter
contained the same unlawful dispute language as the first two letters. It also reflected the
assessment of interest in the amount of $2.68 to plaintiffs account despite the fact that
plaintiff never agreed, either orally or in Writing, to be responsible for any interest

charges related to late or unmade payments

ll. Plaintiff received another letter from defendant dated May 8, 2006. This letter
contained the improper dispute language and reflected the assessment of additional

interest.

12. On May 10, 2006, Attorney Kathryn Harlow sent defendant a letter of representation
on behalf of plaintiff The letter specifically requested that defendant no longer contact

plaintiff, stated that plaintiff disputed the debt, and requested verification of same

13. Contrary to the language in defendant’s April 17 letter, and contrary to Attorney
Harlow’s letter of representation, plaintiff received another letter from defendant dated

May 16, 2006. The letter reflected the unlawlill assessment of additional interest

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14. A letter from defendant dated May 18, 2006 was Sent to plaintiff at Attorney
Harlow’s address. This letter reflected the unlawful assessment of additional interest to

plaintiff s account.

15. Attorney Harlow sent a second letter to defendant on May 23, 2006 which reiterated
plaintiffs dispute of the claim and requested additional documents pertaining to

plaintiffs account

161 Plaintiff received another letter from defendant dated June 5, 2006. This letter
reflected the unlawful assessment of additional interest and contained the following
statement “We have reported this debt to all maj or credit reporting agencies.” In fact, at
the time this letter was sent no such action had been taken, and - on information and

belief _ no such action has been taken through the present date.

171 On August 25, 2006, a representative of defendant called plaintiff at home. The
representative stated that the purpose of the call was to collect money owed to the “See

Clearly Method.” Plaintiff explained that she was represented by counsel, and the call

ended

18. At all times from April 3, 2006 through August 255 2006 defendant was a “debt
collector” as defined by Massachusetts law, and was attempting to collect an alleged debt
obtained primarily for personal, family, or household purposes As such, defendant was

required to be licensed under G.L. c. 93, §24A, but was not.

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COUNT II

(Violations of 15 U.S.C. §1692c)
25. The allegations of paragraphs l - 24, above, are incorporated by reference as if fully
set forth.
26. The conduct of defendant in sending the letters of April 17, 2006 and June 5, 2006 to
plaintiff despite having been informed of legal representation by Attorney Harlow
violated 15 U.S.C. §§16920(a)(2) and (c)(i).
27. The conduct of defendant in calling plaintiff on or about August 25, 2006 violated 15
U.S.C. §§1692c(a)(2) and (c)(l).
28. As results of the above-described conduct, plaintiff suffered distress, anxiety, and
confusion.

WHEREFORE plaintiff prays that this Honorable Court enter judgment awarding
her actual damages, statutory damages, interest, costs, and attorney’s fees, all as provided
by law.

Class Action Claims
COUNT III
(Violation of 15 U.S.C. §1692g)
29. The allegations of paragraphs 1 - 18 are incorporated herein as if fully set forth.
30. The language in defendant’s letters specifying that any dispute of the debt be made in
writing violates 15 U.S.C. §l692g(a)(3).
Class Action Allegations
31. Plaintiff brings Count III on behalf of herself and a class of persons similarly

situated. The class consists of all Massachusetts residents who, within one year of the

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filing of this complaint, were sent a collection letter by defendant regarding any alleged
consumer debt which specified that a dispute of the debt be made in writing, and was not
returned to sender. Excluded from the class are present and former officers, directors,

employees, and agents of defendant and VIT.

32. On information and belief, defendant assessed interest to the accounts of most or all
“See Clearly Method” debtors, which is believed to number in the thousands
Accordingly, the class is likely to be sufficiently numerous such that joinder is

impracticable

33. There are issues of law and fact common to class members, which issues
predominate over any individual questions The primary common issues are whether
defendant is a debt collector as defined by the FDCPA, and whether the language in
question is unlawful under the FDCPA. Plaintiff is not aware of any issues particular to

individual class members which would render class certification inappropriate

34. The plaintiffs claim is typical of - indeed, is identical to - the claims of class

members

35. Plaintiff will fairly and adequately protect the interests of the class. Plaintiff is
committed to a complete and thorough resolution of this matter, and has carefully
selected counsel experienced in consumer and class action litigation. Neither plaintiff
nor counsel is aware of any conflict or other factor which would interfere with the

effective prosecution of this litigation

36. A class action is a superior method of resolving this controversy

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WHEREFORE, plaintiff prays for a judgment against defendant on behalf of
herself and class members: (a) awarding them statutory damages; (b) awarding costs and

reasonable counsel fees; and (c) awarding such further relief as shall be just and proper.

WHEREFORE plaintiff prays that this Honorable Court enter judgment awarding
her statutory damages, interest, costs, and attorney’s fees, all as provided by law.
COUNT IV
(Violation of 15 U.S.C. §1692e and §16921`))
37. The allegations of paragraphs 1 - 18 are incorporated herein as if fully set forth.
38. Defendant’s assessment of interest charges to plaintiffs account, and defendant’s
attempted collection and collection of same, constitute violations of 15 U.S.C.
§1692e(2)(A) and 15 U.S.C. §1692f(l).
Class chltgpLAllegations
39. Plaintiff brings Count IV on behalf of herself and a class of persons similarly
situated The class consists of all persons who, within one year of the filing of this
complaint, were sent a collection letter by defendant regarding a debt allegedly due as a
result of purchasing the “See Clearly Method,” which letter reflected the assessment of
interest and was not returned to sender. Excluded from the class are present and former

officers, directors, employees, and agents of defendant and VIT.

40. On information and belief, defendant assessed interest to the accounts of most or all
“See Clearly Method” debtors, which is believed to number in the thousands
Accordingly, the class is likely to be sufficiently numerous such that joinder is

impracticable

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41. There are issues of law and fact common to class members, which issues
predominate over any individual questions The primary common issues are whether in
ordering the “See Clearly Method” class members agreed to pay interest in the event of a
late or missed payment, whether defendant is a debt collector as defined by the FDCPA,
and whether the conduct in question is unlawful under the FDCPA. Plaintiff is not aware
of any issues particular to individual class members which would render class

certification inappropriate

42. The plaintiffs claim is typical of - indeed, is identical to ~ the claims of class

members

43. Plaintiff will fairly and adequately protect the interests of the class. Plaintiff is
committed to a complete and thorough resolution of this matter, and has carefully
selected counsel experienced in consumer and class action litigation Neither plaintiff
nor counsel is aware of any conflict or other factor which would interfere with the

effective prosecution of this litigation

44. A class action is a superior method of resolving this controversy

WHEREFORE, plaintiff prays for a judgment against defendant on behalf of
herself and class members: (a) awarding them actual damages; (b) awarding them
statutory damages; (c) awarding costs and reasonable counsel fees; and (d) awarding such

further relief as shall be just and proper.

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DEMAND FOR JURY TRIAL

Plaintiff requests trial by jury on all claims.

CAROL McNEIL,
Plaintiff

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